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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 CORNELIUS B. PRIOR, JR.,

                  Plaintiff,
                                                    C.A. No. 4:23-cv-40116
          v.

 TRUSTEES OF THE COLLEGE OF THE                     [ LEAVE TO FILE GRANTED ON
 HOLY CROSS,                                        DECEMBER 3, 2024, DKT. NO. 52 ]

                  Defendant.


               DEFENDANT’S NOTICE OF FILING SUPPLEMENTAL EXHIBITS

         Pursuant to the leave granted by this Court on December 3, 2024 (Dkt. No. 52),

defendant, Trustees of the College of the Holy Cross (“College” or “Holy Cross”), hereby files

the following supplemental exhibits in further support of its motion to compel mediation and

arbitration:

         1.      Attached hereto as Exhibit A are a collection of photographs taken of a

groundbreaking ceremony for the Prior Performing Arts Center (previously filed as Dkt. No. 32-

1).

         2.      Attached hereto as Exhibit B is a true and accurate copy of the draft Meeting

Minutes of the Holy Cross Board of Trustees dated July 19, 2019 (previously filed as Dkt. No.

32-2).

         3.      Attached hereto as Exhibit C is a true and accurate copy of a July 26, 2013 letter

and enclosures sent from Plaintiff to the then-President of Holy Cross (previously filed as Dkt.

No. 32-3).

         4.      Attached hereto as Exhibit D is a true and accurate copy of an email chain dated

July 23, 2018 between Plaintiff and Tracy Barlok (previously filed as Dkt. No. 32-4).
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       5.      Attached hereto as Exhibit E is a true and accurate copy of a November 10, 2022

email sent from Plaintiff to Helen W. Boucher (previously filed as Dkt. No. 32-5).

       6.      Attached hereto as Exhibit F is a true and accurate copy of an October 23, 2013

email from Plaintiff to Charles Weiss (previously filed as Dkt. No. 32-6).


                                             Respectfully submitted,

                                             TRUSTEES OF THE COLLEGE OF THE
                                             HOLY CROSS,

                                             By its Attorneys,

                                             /s/ Benjamin M. McGovern
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Dated: December 5, 2024




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                                 CERTIFICATE OF SERVICE

        I, Benjamin M. McGovern, hereby certify that this document filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on this 5th day of December, 2024.

                                                      /s/ Benjamin M. McGovern
                                                      Benjamin M. McGovern

Dated: December 5, 2024




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